       Case 3:23-md-03084-CRB Document 401 Filed 04/08/24 Page 1 of 5



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 8    Attorneys for Plaintiffs
 9

10                                UNITED STATES DISTRICT COURT
11                               NORTHERN DISTRICT OF CALIFORNIA
12                                    SAN FRANCISCO DIVISION
13

14   IN RE: UBER TECHNOLOGIES, INC.,                      MDL No. 3084 CRB
     PASSENGER SEXUAL ASSAULT
15   LITIGATION                                           SHORT FORM COMPLAINT

16                                                        JURY TRIAL DEMANDED
     ______________________________________
17
     This Document Relates to:                            Judge: Hon. Charles R. Breyer
18
     JANE DOE EB 1 v. UBER TECHNOLOGIES,
19
     INC., et al. Case No. 3:23-CV-05870
20

21

22               SHORT-FORM COMPLAINT AND DEMAND FOR JURY TRIAL

23          The Plaintiff named below files this Short-Form Complaint and Demand for Jury Trial

24   against Defendants named below by and through the undersigned counsel. Plaintiff incorporates

25   by reference the allegations contained in Plaintiffs’ Master Long-Form Complaint in In Re: Uber

26   Technologies, Inc., Passenger Sexual Assault Litigation, MDL No. 3084 in the United States

27   District Court for the Northern District of California. Plaintiff files this Short-Form Complaint as

28   permitted by Pretrial Order No. 11 of this Court.

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     CASE NO. 3:23-MD-03084-CRB                                           SHORT FORM COMPLAINT
         Case 3:23-md-03084-CRB Document 401 Filed 04/08/24 Page 2 of 5



 1              Plaintiff selects and indicates by checking-off where requested, the Parties and Causes of

 2   Actions specific to this case.

 3              Plaintiff, by and through their undersigned counsel, allege as follows:

 4        I.       DESIGNATED FORUM1

 5                 1. Identify the Federal District Court in which the Plaintiff would have filed in the

 6                     absence of direct filing: Northern District of California ("Transferee District

 7                     Court").

 8        II.      IDENTIFICATION OF PARTIES

 9                 A. PLAINTIFF

10                 1. Injured Plaintiff: Name of the individual who alleges they were sexually

11                     assaulted, battered, harassed, or otherwise attacked by an Uber driver with whom

12                     they were paired while using the Uber platform: Jane Doe EB 1 ("Plaintiff").

13                 2. At the time of the filing of this Short-Form Complaint, Plaintiff resides at:

14                     Fort Lauderdale, Florida; Broward County

15                 3. (If applicable) INSERT NAME OF REPRESENTATIVE, CAPACITY, BASIS

16                     OF AUTHORITY N/A

17                 B. DEFENDANT(S)

18                 1. Plaintiff names the following Defendants in this action.

19                         ✓      UBER TECHNOLOGIES, INC.;2

20                               RAISER, LLC.;3

21                               RAISER-CA, LLC.4

22                               OTHER (specify): ____________________________. This defendant’s

23                                residence is in (specify state): ___________________.

24

25

26   1
       See Pretrial Order No. 6, at II(C) (ECF No. 177).
     2
27     Delaware corporation with a principal place of business in California.
     3
       A limited liability company whose sole member, Uber Technologies, Inc., is a citizen of Delaware and California.
     4
       A limited liability company whose sole member, Uber Technologies, Inc., is a citizen of   Delaware and
28
     California.

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     CASE NO. 3:23-MD-03084-CRB                                                      SHORT FORM COMPLAINT
         Case 3:23-md-03084-CRB Document 401 Filed 04/08/24 Page 3 of 5



 1                 C. RIDE INFORMATION

 2                 1. The Plaintiff was sexually assaulted, harassed, battered, or otherwise attacked by

 3                     an Uber driver in connection with a ride facilitated on the Uber platform in

 4                     Richmond County, Virginia on June 25, 2022.

 5                 2. The Plaintiff was the account holder of the Uber account used to request the

 6                     relevant ride.

 7                 3. The Plaintiff provides the following additional information about the ride:

 8                     ✓    The Plaintiff hereby incorporates Plaintiff’s disclosure of ride information

 9                          produced pursuant to Pretrial Order No. 5 on February 14, 2024.

10                      The origin of the relevant ride was [STREET ADDRESS, CITY,

11                          COUNTY, STATE]. The requested destination of the relevant ride was

12                          [STREET ADDRESS, CITY, COUNTY, STATE]. The driver was

13                          named [DRIVER NAME].

14         III.    CAUSES OF ACTION ASSERTED

15                 1. The Causes of Action asserted in the Plaintiffs’ Master Long-Form Complaint,

16                     and the allegations with regard thereto in the Plaintiffs' Master Long-Fonn

17                     Complaint, are adopted in this Short-Form Complaint by reference, except that

18                     Plaintiff opts out of and excludes the causes of action specified below:

19       Check any          Cause of     Cause of Action
         EXCLUDED           Action
20       Causes of Action   Number
                                 I       NEGLIGENCE (including Negligent Hiring, Retention, Supervision, and
21                                       Entrustment)

22                              II       FRAUD AND MISREPRESENTATION

                                III      NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
23
                                IV      COMMON CARRIER'S NON-DELEGABLE DUTY TO PROVIDE SAFE
24                                      TRANSPORT ATION5
25

26
     5
27     This claim is pleaded in the Plaintiffs’ Master Long-Form Complaint under the laws of every state except:
     Arizona, Colorado, District of Columbia, Illinois (for incidents prior to August 11, 2023), Michigan, Montana
28   (for incidents prior to April 23, 2023), New York, Pennsylvania, Wisconsin, and Wyoming.


                                                           3
     CASE NO. 3:23-MD-03084-CRB                                                   SHORT FORM COMPLAINT
         Case 3:23-md-03084-CRB Document 401 Filed 04/08/24 Page 4 of 5



 1                              V        OTHER NON-DELEGABLE DUTIES TO PROVIDE SAFE
                                         TRANSPORT ATION6
 2                             VI         VICARIOUS LIABILITY FOR DRIVERS' TORTS - EMPLOYEE

 3                             VII        VICARIOUS LIABILITY FOR DRIVERS' TORTS - APPARENT
                                          AGENCY
 4                            VIII        VICARIOUS LIABILITY FOR DRIVERS' TORTS - RATIFICATION

 5                             IX         VICARIOUS LIABILITY FOR DRIVERS' TORTS-Cal. Public
                                          Utilities Code § 535
 6                              X         STRICT PRODUCTS LIABILITY - DESIGN DEFECT

 7                             XI         STRICT PRODUCTS LIABILITY - FAILURE TO WARN
                               XII        STRICT PRODUCTS LIABILITY - PRODUCT LIABILITY ACTS
 8
                              XIII       UNFAIR COMPETITION LAW - Cal. Bus. & Prof. Code § 17200
                                         et seq.
 9

10        IV.     ADDITIONAL CAUSES OF ACTION AND/OR ALLEGATIONS

11                1. Plaintiff asserts the following additional theories against the Defendants designated in

12                    paragraph above: N/A

13                2. If Plaintiff has additional factual allegations not set forth in Plaintiffs’ Master Long-

14                    Form Complaint, they may be set forth below or in additional pages: N/A

15           WHEREFORE, Plaintiff prays for relief and judgment against Defendants for economic and non-

16   economic compensatory and punitive and exemplary damages, together with interest, costs of suit,

17   attorneys’ fees, and all such other relief as the Court deems proper, and such further relief as the Court

18   deems equitable and just, and as set forth in Plaintiffs’ Master Long-Form Complaint.

19                                                  JURY DEMAND

20           Plaintiff hereby demands a trial by jury as to all claims in this action.

21

22   DATED: April 8, 2024                                 Respectfully Submitted,

23                                                                ESTEY & BOMBERGER, LLP

24                                                                /S/ Angela Nehmens, Esq.
                                                                  Stephen J. Estey
25                                                                Angela J. Nehmens
                                                                  Attorney for Plaintiffs
26
27   6
      This claim is pleaded in Plaintiffs’ Master Long-Form Complaint under the laws of every state except: District of
28   Columbia, Michigan, New York, and Pennsylvania.


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     CASE NO. 3:23-MD-03084-CRB                                                     SHORT FORM COMPLAINT
       Case 3:23-md-03084-CRB Document 401 Filed 04/08/24 Page 5 of 5



 1                                      CERTIFICATE OF SERVICE
 2           I hereby certify that on April 8, 2024, I electronically filed the above document with the
 3   Clerk of the Court using the CM/ECF system, which will automatically send notification of the
 4   filing to all counsel of record.
 5
                                                   By: /S/ Nicole Stoneman
 6

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     CASE NO. 3:23-MD-03084-CRB                                           SHORT FORM COMPLAINT
